      Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 1 of 12 PageID #: 1



                   UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF TEXAS




MARY ÁNNE BURGÁN,                                     )       Civil Action
                      Plpintiff                       )       No. 4:19-cv-00102
VS.                                                   )
                                                      )       CIVIL COMPLAINT
RADIUS GLOBAL SOLUTIONS, LLC                          )
                      Defendant                       )       (Unlawful Debt Collection Practices)




I. INTRODUCTION



      1. This is an action for damages brought by an individual consurner for Defendant's

         violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter

         "FDCPA") and the Texas Debt Collection Practices Act, Tex. Fin. Code Ann. § 392 et

         seq. (hereinafter "TDCPA"), which prohibit debt collectors from engaging in abusive,

         deceptive, and unfair practices.




II. JURISDICTION



      2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1337, and

         supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.

         Declaratory relief is available pursuaiit to 28 U.S.C. §§ 2201 and 2202. Venue in this

         District is proper in that Defendant transacts business here and the conduct complained of

         occurred here.




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 CML COMPLAINT
                                                                                                   1
 UNLAWFUL DEBT COLLECTION PRACTICES
   Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 2 of 12 PageID #: 2



III. PARTIES



   3. Plaintiff, MARY ANNE BURGAN, is a natural person residing in Texas.



   4. Defendant, RADIUS GLOBAL SOLUTIONS, LLC, is a Minnesota corporation engaged

       in the business of collecting debts in this state with its principal place of business located

       at 7831 Glenroy Road, Suite 250, Edina, MN 55439. The principal purpose of Defendant

       is the collection of debts using the mails and telephone, and Defendant regularly attempts

       to collect debts alleged to be due another.



   5. Defendant is a "debt collector" as defined by the FDCPA, 15 u.s.c. fi 1692a(6)




IV. FÁCTUAL ALLEGÁTIONS



   6. On or about August 5, 2018, the Defendant contacted the Plaintiff by regular mail in an

       attempt to collect a debt on behalf of Cavalry, SPV I, LLC.



   7. The August 5, 20l81etter included the language "Pay Online: www.radiuswebpay.com"

       in which the Defendant attempted to direct the Defendant to a website owned and

       maintained by the Defendant for the purpose of collecting consumer debts.



    8. The August 5, 20l81etter included a QR code which if scanned would direct the user to

       visit the website www.radiuswebpay.com.


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 CML COMPLAINT
                                                                                                    2
 UNLAWFUL DEBT COLLECTION PRACTICES
 Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 3 of 12 PageID #: 3



  9. On or about September 8, 2018, the Defendant contacted the Plaintiff by regular mail in

      an attempt to collect a debt on behalf of Cavalry, SPV I, LLC.



  10. The September 8, 20l81etter included the same two links discussed in lines 7 and 8 of

      this section directing the consumer to www.radiuswebpay.com.



  11. On or about October 8, 2018 the Defendant contacted the Plaintiff by regular mail in an

      attempt to collect a debt on behalf of Cavalry, SPV I, LLC.



  12. The October 8, 20l81etter included the same two links discussed in lines 7 and 8 of this

      section directing the consumer to www.radiuswebpay.com.



  13. Visiting the website www.radiuswebpay.com results in the user being automatically

      redirected to the website "www.payments2northland.com".



  14. The Defendant has previously operated under the name Northland Group LLC.



  15. The landing page for www.payments2northland.com states in part "Radius Global

      Solutions is a debt collector. This is an attempt to collect a debt by a debt collector and

      any inforrnation obtained will be used for that purpose."



  16. The www.payments2northland.com website includes an icon for the website "Ask Doctor

      Debt" which links to the URL "www.askdoctordebt.com".
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CML COMPLAINT
                                                                                                    3
UNLAWFUL DEBT COLLECTION PRACTICES
  Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 4 of 12 PageID #: 4



  17. The www.payments2northland.com website directs to "www.northlandgroup.com" upon

      clicking with the header.



  18. Clicking on the header of a website is an action which ordinarily brings the user of a

      website to the main landing page of the site they are visiting.



  19. Through usage of the link described in line 18 the Defendant has incorporated the

      contents of the "www.northlandgroup.com" website into its comrnunication with the

      Plaintiff.




  20. The contents of "www.northlandgroup.com" were created for the purpose of obtaining

      payments and information from debtors in connection with efforts to collect a debt.



  21. The footer of every page of www.northlandgroup.com includes a link and icon for the

      Ask Doctor Debt website.




  22. The footer of every page of www.northlandgroup.com includes the language immediately

      adjacent to the link "Find straightforward answers to your credit and debt questions at

      this independent industry site."



  23. The www.northlandgroup.com website includes a section of the website labeled

      "Consumers" which is targeted to debtors visiting the website and is created for the




CML COMPLAINT
                                                                                                4.
UNLAWFUL DEBT COLLECTION PRACTICES
 Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 5 of 12 PageID #: 5



      purpose of collecting a debt and obtaining inforínation in connection with the collection

      of debt of another.




  24. The "Consumers" page of www.noíthlandgroup.com includes a section labeled "Ask

      Doctor Debt" in which it states: "At Ask Dr. Debt, you can quickly find straightforward

      answers to your credit and debt questíons. This independent site provides you with

      resources and information to help yori know your rights, take action and get honest

      answers."




  25. The language discussed in line 24 includes a link to www.askdoctordebt.com.



  26. A total of approximately 25 links to www.askdoctordebt.com are contained on the

      Defendant's website.




  27. The www.askdoctordebt.com website was created and run by ACA International which is

      also known as The Association of Credit and Collection Professionals.




  28. ACA International is an organization made up of debt collectors.



  29. Ask Docjor Debt was created as part of an ACA International publicity campaign in

      which ACA International attempted to give debt collectors positive publicity.




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CML COMPLAINT
                                                                                                  5
UNLAWFUL DEBT COLLECTION PRACTICES
  Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 6 of 12 PageID #: 6



  30. The original fornnat of Ask Doctor Debt allowed debtors to submit questions related to

      debt management, debt collection, bankruptcy, or other financial topics which would be

      answered by a member of ACA International.



  31. The Ask Doctor Debt website contains an archive of previously asked questions and

      answers.




  32. The Ask Doctor Debt website contains inaccurate, misleading, false, dishonest, and/or

      biased inforrnation related to the collection of debt.




  33. Inforínation on the Ask Doctor Debt website was intentionally created to mislead

      consumers into engaging in debt collector favorable actions which could result in

      negative consequences to the consurner including the revival of unenforceable debts or

      the payment of debts not owed.




  34. The Ask Doctor Debt website contains inforrnation which may discourage consumers

      from seeking the advice of an attorney.



  35. The Defendant made statements via its website which were part of a communication for

      the purpose of collecting a debt from the Plaintiff which advised or induced consumers to

      rely on the advice of www.askdoctordebt.com.




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CML COMPLAINT
                                                                                               6
UNLAWFUL DEBT COLLECTION PRACTICES
 Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 7 of 12 PageID #: 7



  36. The Defendant incorporated the false or misleading statements made on

      www.askdoctordebt.com into its communication to the Plaintiff.




  3 7. The Defendant intentionally misled consumers into believing that

      www.askdoctordebt.com was an uninterested third party website of which the Defendant

      had no affiliation.




  38. The Defendant failed to disclose its affiliation with www.askdoctordebt.com through

      ACA International to consumers.




  39. The Defendant intentionally misled consumers about the "independent" nature of

      www.askdoctordebt.com.




  40. The Defendant failed to disclose that the site www.askdoctordebt.com was created by

      companies and individuals engaged in the practice of debt collection.



  41. The Defendant purported to represent the best interests of consumers through statements

      contained on its website and in its communications.




  42. The Defendant falsely puíported to represent the best interests of consumers by providing

      counsel or advice to consumers.




CML COMPLAINT
                                                                                              7
UNLAWFUL DEBT COLLECTION PRACTICES
   Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 8 of 12 PageID #: 8



V. FIRST CLÁIM FOR RELIEF


   43. Plaintiff repeats and realleges and incorporates by reference paragraphs one through

       forty-two above.



   44. Defendant violated the FDCPA. Defendant's violation included, but are not limited to,

       the following:



           a. The Defendant violated 15 U.S.C. § 1692e generally by making oral and written

                 statements in an attempt to obtain payment and personal information concerning

                 the plaintiff through deceptive, false or otherwise misleading statements.



           b. The Defendant violated 15 U.S.C. § 1692e by making false or misleading

                 statements as to the independent nature of the www.askdoctordebt.com website to

                 collect a debt and/or obtain information concerning the plaintiff.



           c. The Defendant violated 15 U.S.C. § 1692e by making statements misleading the

                 Plaintiff as to the relationship between www.askdoctordebt.com and Defendant to

                 collect a debt and/or obtain infornüation concerning the plaintiff.



           d. The Defendant violated 15 U.S.C. § 1692e by making statements misleading the

                 Plaintiff as to the ownership of www.askdoctordebt.com to collect a debt and/or

                 obtain inforínation concerning the plaintiff.



 CML COMPLAINT
                                                                                                   8
 UNLAWFUL DEBT COLLECTION PRACTICES
  Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 9 of 12 PageID #: 9




           e. The Defendant violated 15 U.S.C. 83 1692e by making statements misleading the

                Plaintiff as to the interests of Defendant to collect a debt and/or obtain

                information concerning the plaintiff.



           f. The Defendant violated 15 U.S.C. Fg 1692e by incorporating false or misleading

                statements made on www.askdoctordebt.com into its communications with the


                Plaintiff to collect a debt and/or obtain information concerning the plaintiff.



  45. Defendant's acts as described above were done intentionally with the purpose of coercing

      Plaintiff to pay the alleged debt and to disclose personal information which would aid in

      the collection of debt and seizure of the plaintiff s property.



  46. As a result of the above violations of the FDCPA, the Defendant is liable to the Plaintiff

       for declaratory judgement that Defendant' s conduct violated the FDCPA, and Plaintiff's

       actual damages, statutory damages, and costs and attorney fees.




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CML COMPLAINT
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UISILAWFUL DEBT COLLECTION PRACTICES
 Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 10 of 12 PageID #: 10



VI. SECOND CLÁIM FOR RELIEF


   47. Plaintiff repeats and realleges and incorporates by reference the foregoing paragraphs.



   48. Defendant violated the TDCPA. Defendant's violations of the TDCPA include, but are

       not limited to, the following:



           a. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) generally by making

                 oral and written statements in an attempt to obtain payment and personal

                 information concerning the plaintiff through deceptive, false or otherwise

                 misleading statements.



           b. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) by making false or

                 misleading statements as to the independent nature of the

                 www.askdoctordebt.com website to collect a debt and/or obtain information


                 concerning the plaintiff.



           c. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) by making statements

                 misleading the Plaintiff as to the relationship between www.askdoctordebt.com

                 and Defendant to collect a debt and/or obtain information concerning the plaintiff.




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 CML COMPLAINT
                                                                                                 10
 UNLAWFUL DEBT COLLECTION PRACTICES
Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 11 of 12 PageID #: 11



          d. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) by making statements
              misleading the Plaintiff as to the ownership of www.askdoctordebt.com to collect
              a debt and/or obtain information concerning the plaintiff.



          e. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) by making statements
              misleading the Plaintiff as to the interests of Defendant to collect a debt and/or

              obtain information concerning the plaintiff.



          f. The Defendant violated Tex. Fin. Code Ann. § 392.304(19) by incorporating false
                or misleading statements made on www.askdoctordebt.com into its
                communications with the Plaintiff to collect a debt and/or obtain information

                concerning the plaintiff.



  49. Defendant's acts as described above were done intentionally with the purpose of coercing
      Plaintiff to pay the alleged debt and to disclose personal information which would aid in
      the collection of debt and seizure of tlhe plaintiff's property.


  50. As a result of the above violations of the TDCPA, the Defendant is liabile to the Plaintiff

      for injunctive and declaratory relief, and for actual damages, statutory damages, and
      attorney fees and costs.




CML COMPLAINT
                                                                                                   11
UNLAWFUL DEBT COLLECTION PRACTICES
 Case 4:19-cv-00102-ALM Document 1 Filed 02/07/19 Page 12 of 12 PageID #: 12



WHEREFORE, Plaintiff respectfully prays that judgement be entered against Defendant for the

following:


   A. Declaratory judgement that Defendant's conduct violated the FDCPA and declaratory

       and injunctive relief for the Defendant's violations of the TDCPA.

   B. Actual Damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k.

   D. Statutory damages pursuant to Tex. Fin. Code Ann. § 392.403.

   E. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k and Tex. Fin. Code

       Ann. § 392.403.

   F. For such other and further relief as may be just and proper.




                                                    Respectfully submitted,
                                                    LEGAL ÁID OF NORTHWEST TEXAS
                                                    2220 San Jacinto Blvd., Suite 205
                                                    Denton, Texas 76205
                                                    Tel: (940) 383-1406
                                                    Fax: (940) 382-7797
                                                    Attorneys for Plaintiff

                                                    By: l ?          %?


                                                    Dominic Ribaudo
                                                    SBN: 24107909

                                                    E: ribaudod@lanwt.or;

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                                                    PaiÚ"                     ]
                                                    SBN: 24077356

                                                    E: hoytp@lanwt.org




 CML COMPLAINT
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 UNLAWFUL DEBT COLLECTION PRACTICES
